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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

IN RE:                                      §
                                            §
NEIGHBORS LEGACY HOLDINGS, INC.,            §     CASE NO. 18-33836-H1-11
                                            §     (Chapter 11)
     Debtor.                                §

 MARK SHAPIRO, TRUSTEE             §
 OF THE UNSECURED CREDITOR TRUST   §
OF NEIGHBORS LEGACY HOLDINGS,      §
INC. AND ITS DEBTOR AFFILIATES     §                  ADV. P. NO. 20-03016
                                   §
    Plaintiff                      §
                                   §
VS.                                §
                                   §
                                   §
TOM VO; BEAUMONT ER PHYSICIANS     §
ASSOCIATES, PLLC; PRANAV SHUKLA;   §
NEIGHBORS OF THE PERMIAN           §
BASIN, LLC; ABARADO & DO           §
FAMILY, LP; EMTEX                  §
INVESTMENTS, LLC; KENNETH DIREKLY; §
EMERGENCE HOLDINGS LLC; EDR        §
INVESTMENTS LLC; ATIBA BELL;       §
MEDICAL ASSOCIATED, PLLC;          §
ALBERTO A. GONZALEZ, MD;           §
EKTA POPAT; TOWARDS INFINITY LLC; §
AB PHYSICIAN SERVICES LLC;         §
AHMED F. SHAIKH; ROY MARRERO;      §
SPRING PASADENA INVESTMENTS, LLC; §
WILLIAM APPIAH; APPLIED            §
ENHANCEMENTS, PLLC; FILLORY        §
HOLDINGS, LLC; THANH CHENG;        §
ANDREW O. OKAFOR, M.D. P.A.;       §
ROGER STARNER JONES, JR.;          §
MANUEL ACOSTA, PLLC;               §
ISAAC FREEBORN; ADDISON HN VO      §
INVESTMENTS LLC; JAMES LOCKE, MD; §
MEGADODO LLC; DIEN BUI, MD;        §
CATNIAJ, PLLC; NIA JOHNSON;        §
OBIDIKE R. AKAHARA MD PA;          §
WISESTAFF, LLC; TEAMUS             §
INVESTMENTS, LTD; HAZEL CEBRUN;    §
                                        1
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LBN MEDICAL CARE, PLLC; DARUL        §
SEHAT, PA; BANKYMED EMERGENCY        §
MANAGEMENT, LLC; UPCLICK             §
VENTURES, LLC; DAVID C. HERRERA, MD; §
ALI OSMAN; IVAN MELENDEZ; BAQIR      §
HOLDINGS, PLLC; ROBERT WRIGHT, DO; §
JEFFERY P. REBOUL, DO; JAMES M.      §
PICCIONE, MD, PLLC; KA HOTT PLLC;    §
STUART R. QUARTERMONT, MD;           §
C. GUADARRAMA PLLC; OMOTOLA O.       §
JAIYEBO; ELANIE UCBAMICHAEL, MD;     §
EDGAR HERNANDEZ, MD;                 §
HAYWOOD HALL; JORGE JAVIER           §
ESCOBAR JR., MD PA; DONALD HUBBARD, §
MD PA; THOMAS M. MERCADO, MD PLLC; §
JORGE; BARAJAS, MD PA; AIMAN A.      §
SHOKR, MD; MICHAEL MOHUN; PETER      §
SHELBY EVANS, MD; DAVID HAACKE,      §
ISABEL REYNA, MD, JASON YOST;        §
HAYNES EMERGENCY MEDICINE, PA;       §
MARIA AGUINAGA, MD PA; DARIN         §
ASHBROOKS; SHAWNA LABERT PITT;       §
CANDANOSA MD PA; JMZ PLLC; HAMAN §
HEALTHCARE GROUP, LLP; SHANNON       §
SPIGENER PLLC; OLGA LANGLY;          §
CLINT CARTER, MD PA; DON HARPER;     §
SDR HEALTHCARE INC; UCBAMICHAEL §
HOLDINGS LTD, UCBAMICHAEL            §
HOLDINGS MANAGEMENT, LLC;            §
SALVADOR ELIZARRARAZ, JR., MD PA;    §
                                     §
                                     §
Defendants.                          §



                 PLAINTIFF’S FIRST AMENDED COMPLAINT




                                     1
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       TO THE HONORABLE MARVIN ISGUR, U.S. BANKRUPTCY JUDGE: COMES NOW,

PLAINTIFF MARK SHAPIRO, TRUSTEE OF THE UNSECURED CREDITOR TRUST OF

NEIGHBORS LEGACY HOLDINGS, INC. AND ITS DEBTOR AFFILIATES and files this First

Amended Complaint, and for cause of action would show as follows:

                                                  I.
                                       Jurisdiction and Venue

       1.      This adversary proceeding is commenced in accordance with Rule 7001(1) of the

Federal Rules of Bankruptcy Procedure.

       2.      This Court has subject-matter jurisdiction over this over this action pursuant to 28

U.S.C. §1334(b) because this adversary proceeding arises in, arises under, and/or relates to the

Neighbors Debtor Entities chapter 11 case(s).

       3.      This adversary proceeding is a “core” proceeding pursuant to 28 U.S.C. §157(b)(2).

       4.      Pursuant to Federal Rule of Bankruptcy Procedure 7008, the Unsecured Creditor

Trustee consents to entry of a final order or judgment by the Bankruptcy Court in this matter.

       5.      Venue is proper in this district under 28 U.S.C. §1409(a). This adversary proceeding

is related to a bankruptcy case under Chapter 11 of the Bankruptcy Code that is pending in this district

as consolidated case number 18-33836.

       6.      The statutory basis for this complaint is §§547, 458, and 550 of the Bankruptcy Code

as well as Texas Business and Commerce Code §24.006.




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                                               II.
                                             Parties

       7.      Plaintiff Mark Shapiro, Trustee of the Unsecured Creditor Trust (“Unsecured Creditor

Trustee”), brings this action on behalf of the Unsecured Creditor Trust created as a part of the

Confirmation Order approving the First Amended Joint Plan of Liquidation of Neighbors Legacy

Holdings, Inc. and its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code (the “Plan”).

       8.      Defendant Thomas Vo, aka Tom Vo, is an individual resident of Texas who may be

served at 4531 Oleander St., Bellaire, Texas 77401.

       9.      Defendant Beaumont ER Physicians Associates, PLLC is a Texas professional limited

liability company that may be served through its Registered Agent Shannon Orsak, 16062 Southwest

Freeway #2, Sugar Land, Texas 77479.

       10.     Defendant Pranav Shukla is an individual resident of Texas who may be served at

1206 Doughty Place, Sugar Land, Texas 77479.

       11.     Defendant Neighbors of the Permian Basin, LLC is a Texas limited liability company

that may be served by its Registered Agent Vik Wall, 18 Sapphire St., Odessa, Texas 79762.

       12.     Defendant Abarado & Do Family, LP is a Texas limited partnership that may be served

by its Registered Agent California Rough Do, 7606 Hampden Court, Sugar Land, Texas 77479.

       13.     Defendant Emtex Investments, LLC, is a Texas limited liability company that may be

served by its Registered Agent Judy Thomas, 3001 Murworth Dr., Unit 1602, Houston, Texas 77025.

       14.     Defendant Kenneth Direkly is an individual resident of Texas who may be served at

1141 Rymers Switch Lane, Friendswood, Texas 77546.

       15.     Defendant Emergence Holdings LLC is a Texas limited company that may be served

by its Registered Agent Richard Joe Ybarra, 1902 Pease St., Suite A, Harlingen, TX 78550.




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         16.   Defendant EDR Investments LLC, is a Texas limited company that may be served by

its Registered Agent Eric Roberson, 315 Hughes Rd., Dickinson, Texas 77539.

         17.   Defendant Atiba Bell Medical Associated, PLLC, is Texas professional limited

liability company that may be served by its Registered Agent Atiba Bell, 22206 Mission Hills Lane,

Katy, Texas 77450.

         18.   Defendant Alberto A. Gonzalez, MD is an individual resident of Texas who may be

served at 207 S. Bauer Point Circle, Spring, Texas 77389.

         19.   Defendant Ekta Popat is an individual resident of Texas who may be served at 1010

Reinhart Ave., Sugar Land, TX 77479.

         20.   Defendant Towards Infinity LLC is a Texas limited liability company that may be

served by its Registered Agent Radheshyam Miryala, 3017 S. Island Dr., Seabrook, Texas 77586.

         21.   Defendant AB Physician Services LLC is a Texas limited liability company that may

be served by its Registered Agent Antonio Bueso, 750 Marlin Dr., Abilene, Texas 79602.

         22.   Defendant Ahmed F. Shaikh is an individual resident of Texas who may be served at

2905 Amherst St., Houston, Texas 77005.

         23.   Defendant Roy Marrero is an individual resident of Texas who may be served at 3709

Gertin Street, Houston, Texas 77004.

         24.   Defendant Spring Pasadena Investments, LLC is a Texas limited liability company

that may be served by its Registered Agent Long Le, 3411 Summer Bay Dr., Sugar Land, Texas

77478.

         25.   Defendant William Appiah is an individual resident of Texas who may be served at

1906 Mystic Arbor Lane, Houston, Texas 77077.




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       26.    Defendant Applied Enhancements, PLLC is a Texas professional limited liability

company and may be served by its Registered Agent Manohar M. Alloju, 14340 Torrey Chase Blvd.,

Suite 110, Houston, Texas 77014.

       27.    Defendant Fillory Holdings, LLC is a Texas limited liability company and may be

served by its Registered Agent Lance Hill, 1013 Greenwood Lane, Lewisville, Texas 75067.

       28.    Defendant Thanh Cheng is an individual resident of Texas who may be served at 4219

Killian Court, Missouri City, Texas 77459.

       29.    Defendant Andrew O. Okafor, M.D. P.A. is an individual resident of Texas who may

be served at 12210 Ashley Circle Dr., West, Houston, Texas 77071.

       30.    Defendant Roger Starner Jones, J., is an individual resident of Texas who MD may be

served at 2405 Barton Shore Dr., Pearland, Texas 77584.

       31.    Defendant Manuel Acosta, PLLC is a Texas professional limited liability company

and may be serve by its Registered Agent Manuel E. Rodriguez Acosta, 3131 Memorial Court, #8104

Houston, Texas 77007.

       32.    Defendant Isaac Freeborn is an individual resident of Texas who may be served at

6703 Winston St., Houston, Texas 77021.

       33.    Defendant Addison HN Vo Investments LLC is a Texas limited liability company and

may be served by its Registered Agent Phuc Hong Vo, 3537 High Vista Dr., Carrollton, Texas 75007

       34.    Defendant James Locke, MD is an individual resident of Texas who may be served at

2457 Baycrest Dr., Houston, Texas 77058.

       35.    Defendant Megadodo LLC is a Texas limited liability company and may be served by

its Registered Agent Jason Gukhool, 4141 Lovers Lane, Dickinson, Texas 77539.

       36.    Defendant Dien Bui MD is an individual resident of Texas who may be served at 2466

Beacon Circle, League City, TX 77573.

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         37.   Defendant Catniaj PLLC is a Texas professional limited liability company and may

be served by its Registered Agent Nia Johnson, 4438 South MacGregor Way, Houston, Texas 77021.

         38.   Defendant Nia Johnson is an individual resident of Texas who may be served at 4438

South MacGregor Way, Houston, Texas 77021.

         39.   Defendant Obidike R. Akahara MD PA is an individual resident of Texas who may be

served at 7638 Westmoreland Dr., Sugar Land, TX 77479.

         40.   Defendant Wisestaff, LLC is a Texas limited liability company and may be served by

its Registered Agent Incorp Services, Inc., 815 Brazos, Suite 500, Austin, Texas 78701.

         41.   Defendant Teamus Investments, LTD is a Texas limited liability company and may

be served by its Registered Agent Steven Downie, 705 Randolph Circle, Beaumont, Texas 77706.

         42.   Defendant Hazel Cebrun is an individual resident of Texas who may be served at 2907

Chartres Street, Houston, Texas 77004.

         43.   Defendant LBN Medical Care, PLLC is a Texas professional limited liability company

and may be served by its Registered Agent Lieu B Ngo, 12803 Brook Arbor Court, Pearland, Texas

77584.

         44.   Defendant Darul Sehat, PA is an individual resident of Texas who may be served at

1914 West Gray Street, Unit 105, Houston, Texas 77019.

         45.   Defendant Bankymed Emergency Management, LLC is a Texas limited liability

company and may be served by its Registered Agent Olushola Bankole, 14815 Lisa Lane, Beaumont,

Texas 77713.

         46.   Defendant Upclick Ventures, LLC is a Texas limited liability company who may be

served at 1119 Woodbank Dr., Seabrook, Texas 77486.

         47.   Defendant David C. Herrera, MD is an individual resident of Texas who may be served

at 4624 Pin Oak Lane, Bellaire, TX 77401.

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         48.   Defendant Ali Osman is an individual resident of Texas who may be served at 3390

Heights Avenue, Beaumont, Texas 77706.

         49.   Defendant Ivan Melendez is an individual resident of Texas who may be served at

3304 N. Bryan Road, Mission, Texas 78573.

         50.   Defendant Baqir Holdings, PLLC is a Texas professional limited liability company

and may be served by its Registered Agent Ahmed F. Shaikh, 2905 Amherst Street, Houston, Texas

77005.

         51.   Defendant Robert Wright, DO is an individual resident of Texas who is an individual

resident of Texas who may be served at 3544 Kanati Cove, Collage Station, Texas 77845.

         52.   Defendant Jeffery P. Reboul, DO is an individual resident of Texas who may be served

at 6550 Truxton Ln., Beaumont, Texas 77706.

         53.   Defendant James M. Piccione, MD, PLLC is a Texas professional limited liability

company and may be served by its Registered Agent James M. Piccione, 5930 Juniper Bluff Court,

Kingwood, Texas 77345.

         54.   Defendant KA Hott PLLC is a Texas professional limited liability company and may

be served by its Registered Agent Kim Hott, 4400 College Park Dr., Suite 1011, The Woodlands,

Texas 77384.

         55.   Defendant Stuart R. Quartermont, MD is an individual resident of Texas who may be

served at 4801 Appel Valley Ct., College Station, Texas 77845.

         56.   Defendant C. Guadarrama PLLC is a Texas professional limited liability company and

may be served by its Registered Agent Christopher Guadarrama, 1255 Carrizo Lane, Brownsville,

Texas 78520.

         57.   Defendant Omotola O. Jaiyebo is an individual resident of Texas who may be served

at 3726 Treasure Island Dr., Montgomery, Texas 77356.

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       58.    Defendant Elanie Ucbamichael, MD is an individual resident of Texas who may be

served at 3195 Dowlen Rd., Suite 101, Beaumont, Texas 77706.

       59.    Defendant Edgar Hernandez, MD is an individual resident of Texas who may be

served 2601 Santa Monica, Mission, Texas 78572.

       60.    Defendant Haywood Hall is an individual resident of Texas who may be served at 220

n. Zapata Hwy, #228A, Laredo, Texas 78043.

       61.    Defendant Jorge Javier Escobar Jr., MD PA is an individual resident of Texas who

may be served at 204 Rancho Del Rey, Mission, Texas 78572.

       62.    Defendant Donald Hubbard, MD PA is an individual resident of Texas who may be

served at 1710 S. Polk St., Amarillo, Texas 79102.

       63.    Defendant Thomas M. Mercado, MD PLLC is a Texas professional limited liability

company and may be served by its Registered Agent Rebel Inez Mercado, 3502 Kensington Pl.,

Amarillo, Texas 79121.

       64.    Defendant Jorge Barajas, MD PA is an individual resident of Texas who may be

served at 3005 Laurie Ln., Edinburg, Texas 78539.

       65.    Defendant Aiman A. Shokr, MD is an individual resident of Texas who may be served

at 109 Banks Drive, Amarillo, Texas 79124.

       66.    Defendant Michael Mohun is an individual resident of Texas who may be served at

1000 North 8th Street, McAllen, Texas 78501.

       67.    Defendant Peter Shelby Evans, MD is an individual resident of Texas who may be

served at 11431 Lakeside Place Dr., Houston, Texas 77077

       68.    Defendant David Haacke is an individual resident of Texas who may be served at 2001

Bob Whie Trail, Amarillo, Texas 79124.



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         69.   Defendant Isabel Reyna MD is an individual resident of Texas who may be served at

2210 Northgate Drive, Weslaco, Texas 78599.

         70.   Defendant Jason Yost is an individual resident of Texas who may be served at 5407

Rolling Hills, Texarkana, Texas 75503.

         71.   Defendant Haynes Emergency Medicine, PA is a Texas professional association and

may be served by its Registered Agent Philip A. Haynes, 604 Hidden Pine Lane, Friendswood, Texas

77546.

         72.   Defendant Maria Aguinaga, MD PA is an individual resident of Texas who may be

served at 701 Jay Ave., McAllen, Texas 78504.

         73.   Defendant Darin Ashbrooks is an individual resident of Texas who may be served at

100 Oak Meadow Ln., Texarkana, Texas 75503.

         74.   Defendant Shawna Labert Pitt is an individual resident of Texas who may be served

at 1256 Moore Road, Beaumont, Texas 77713.

         75.   Defendant Candanosa MD PA is an individual resident of Texas who may be served

at 2307 Victoria Ave., Edinburg, TX 78539.

         76.   Defendant JMZ PLLC is a Texas professional limited liability company and may be

served by its Registered Agent United States Corporation Agents, Inc., 9900 Spectrum Drive, Austin,

Texas 78717.

         77.   Defendant Haman Healthcare Group, LLP may be served 1474 W. Price Rd., Suite 7,

Brownsville, Texas 78520 (P.O. Box 3072, Brownsville, Texas 78523).

         78.   Defendant Shannon Spigener PLLC is a Texas professional limited liability company

and may be served by its Registered Agent Michelle Tribble, 1801 E. 51st St., Building H, Austin,

Texas 78723.



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         79.   Defendant Olga Langly is an individual resident of Texas who may be served 3205

South 6th Lane, McAllen, Texas 78503.

         80.   Defendant Clint Carter, MD PA is an individual resident of Texas who may be served

at 4048 Charleston Park, Tyler, Texas 75701.

         81.   Defendant Don Harper is an individual resident of Texas who may be served at 810

N. Louise St., Atlanta, Texas 75551.

         82.   Defendant SDR Healthcare Inc, is at Texas corporation and may be served by its

Registered Agent Dr. Jason Seungdamrong, 3000 Blackburn St., Apt 2311, Dallas, Texas 75204.

         83.   Defendant Ucbamichael Holdings LTD is a Texas limited liability company that may

be served by its Registered Agent Elaine Ucbamichael, 2500 N. Houston St., Apt 2712, Dallas, Texas

75219.

         84.   Defendant Ucbamichael Holdings Management, LLC is a Texas limited liability

company and may be served by its Registered Agent Elaine Ucbamichael, 2500 N. Houston St., Apt

2712, Dallas, Texas 75219

         85.   Defendant Salvador Elizarraraz, Jr., MD PA is a Texas professional association who

may be served at 2001 Fullerton Ave., McAllen, Texas 78504.

         86.   The above Defendants are hereinafter collectively referred to as the “Transfer

Defendants.”




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                                                   III.
                                             Background Facts


        87. On July 12, 2018 (the “Petition Date”), the Neighbors Defendants and certain other

affiliates1 (collectively, the “Neighbors Debtor Entities”) filed voluntary petitions for relief under

chapter 11 of the Bankruptcy Code.

        88. On March 22, 2019, the Court entered an Order (the “Confirmation Order”) confirming

the First Amended Joint Plan of Liquidation of Neighbors Legacy Holdings, Inc. and its Debtor

Affiliates Under Chapter 11 of the Bankruptcy Code (the “Plan”).

        89. The Confirmation Order and Plan, among other things, approved the formation of the

Unsecured Creditor Trust on the effective date of the Plan, which occurred on April 8, 2019 (the

“Effective Date”) and the appointment of the Unsecured Creditor Trustee to administer the Unsecured

Creditor Trust.

        90. Pursuant to the Plan, the Unsecured Creditor Trust is charged with maximizing value for

the benefits of its beneficiaries. As a part of the Plan, the Neighbors Debtor Entities retained certain




1
 The Neighbors Debtor Entities include Neighbors Legacy Holdings, Inc., Neighbors Global Holdings, LLC, Neighbors
Health, LLC, NEC Bellaire Emergency Center, LP, NEC Kingwood Emergency Center, LP, NEC Baytown Emergency
Center, LP, NEC Pasadena Emergency Center, LP, NEC Pearland Emergency Center, LP, NEC Lakeline Emergency
Center, LP, NEC Beaumont Emergency Center, LP, NEC Mueller Emergency Center, LP, NEC Yorktown Emergency
Center, LP, NEC Crosby Emergency Center, LP, NEC Orange Emergency Center, LP, NEC Midland Emergency Center,
NEC Zaragoza Emergency Center, LP, NEC Tyler Emergency Center, LP, NEC Eastside Emergency Center, LP, NEC
Port Arthur Emergency Center, LP, NEC Texas City Emergency Center, LP, NEC Odessa Emergency Center, LP, NEC
Harlingen Emergency Center, LP, NEC Amarillo Emergency Center, LP, NEC Porter Emergency Center, LP, NEC
Brownsville Emergency Center, LP, NEC McAllen Emergency Center, LP, NEC Wichita Falls Emergency Center, LP,
NEC Longview Emergency Center, LP, NEC Texarkana Emergency Center, LP, NEC San Angelo Emergency Center,
LP, NEC College Station Emergency Center, LP, NEC Lufkin Emergency Center, LP, NEC West Warwick Emergency
Center, LP, NEC Lubbock Emergency Center, LP, NEC Greeley Emergency Center, LP, Next Door Urgent Care, LLC,
NEC Paris Emergency Center, LP, NEC Kerrville Emergency Center, LP, NEC Amarillo South Emergency Center, LP,
EDMG, LLC, Neighbors Emergency Center, LLC, Neighbors GP, LLC, Neighbors Physician Group, PLLC, Neighbors
Practice Management, LLC, Neighbors Physician Group – Colorado, LLC, NEC Pharr Emergency Center, LP, NEC
Kingwood Asset Holdings, LLC, NEC Baytown Asset Holdings, LLC, NEC Pearland Asset Holdings, LLC, NEC
Beaumont Asset Holdings, LLC.
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causes of action, including those asserted in this matter.2 Those Retained Causes of Actions were

then subsequently assigned to the Unsecured Creditor Trust as a part of the establishment of the trust.3

           91. Accordingly, the Unsecured Creditor Trustee now brings the claims asserted below and

would show the Court the following:

                 B.         Neighbors Emergency Centers Transfers

           92. The Neighbors Debtor Entities are a group of entities that that owned and operated

freestanding emergency centers in and around the State of Texas. The Transfer Defendants are all

individuals and entities associated with the Neighbors Debtor Entities.

           93. Starting in 2014, Neighbors undertook a massive expansion campaign fueled by debt.

Initially, this expansion was funded by a $31 million debt transaction with BBVA Compass in 2014,

which was later increased to $50 million. By the end of 2015, Neighbors had opened eighteen

locations.

           94. To further fuel Neighbors’ expansion vision, it also obtained a $150 million term loan

from a syndicate led by Key Bank in late 2015. By the end of 2016, Neighbors had continued its

massive expansion plans, having opened a total of thirty-two locations.

           95.     Each of the Transfer Defendants received transfers of funds (“Transfers”) from the

Neighbors Debtor Entities in 2016-2018. Summaries of those transfers are listed in the attached

Exhibit A and total more than $22 million.

           96.     At the time the Transfers were made, the Neighbors Debtor Entities were insolvent

when it made the Transfers as the fair market value of their assets exceeded their liabilities. The

Neighbors Debtor Entities were engaged in business or transactions for which any property remaining



2
    See the Plan at Cause No. 18-33836, Docket No. 854 at ¶123.
3
    See Unsecured Creditor Trust Agreement at Cause No. 18-33836, Docket No. 802-2 at p. 5.
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after the Transfer was an unreasonably small capital. Additionally, at the time of the Transfers, the

Neighbors Debtor Entities could not make payments on its debts as they became due.

                                                 IV.
                                    Claims and Causes of Action
               Recovery of Transfers Pursuant to 11 U.S.C. §§544, 548 & 550 and
                         Texas Business and Commerce Code §24.006
        97.     The Unsecured Creditor Trustee repeats and re-alleges the above paragraphs as if fully

set forth herein.

        98.     The Unsecured Creditor Trustee seeks to avoid the Transfers as fraudulent pursuant

to 11 U.S.C. §§544, 548, and applicable state law, including Texas Business and Commerce Code

§24.006(a).

        99.     The Neighbors Debtor Entities made the Transfers to or for the benefit of the Transfer

Defendants. Specifically, the cash from Neighbors Debtor Entities bank account was sent directly to

the Transfer Defendants. Each of the Transfer Defendants received transfers of funds from the

Neighbors Debtor Entities in 2016-2018. Summaries of those transfers are listed in the attached

Exhibit A and total more than $22 million.

        100.    The Transfers were made from funds in the Debtor's bank account and was a transfer

of an interest in property of the Neighbors Debtor Entities.

        101.    The Neighbors Debtor Entities received less than reasonably equivalent value for the

Transfers.

        102.    The Neighbors Debtor Entities were insolvent when it made the Transfers as the fair

market value of their assets exceeded their liabilities. The Neighbors Debtor Entities were engaged

in business or transactions for which any property remaining after the Transfer was an unreasonably

small capital. Additionally, at the time of the Transfers, the Neighbors Debtor Entities could not

make payments on its debts as they became due.

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        103.   Therefore, the Transfers are avoidable as a fraudulent transfer under 11 U.S.C. §§544

& 548 and applicable state law, including Texas Business and Commerce Code §§24.006.

        104.   Section 550 of the Bankruptcy Code provides that if a transfer is avoided under §§544

and 548 of the Bankruptcy Code, the Unsecured Creditor Trustee may recover the property or the

value of the property transferred from the initial transferee, the entity for whose benefit the transfer

was made, or any immediate or mediate transferee of the initial transferee.

        105.   The Transfers or the value of the Transfers that are avoidable under §§544 or 548 of

the Bankruptcy Code are recoverable for the Unsecured Creditor Trust under §550 of the Bankruptcy

Code.

                                                 V.
                                            Jury Demand

        106.   The Plaintiff demands a trial by jury as to all issues in this case.

                                                 VI.
                                                Prayer

        WHEREFORE, the Unsecured Creditor Trustee demands judgment against the Transfer

Defendants:

         A. Determining that the Transfers are avoidable as fraudulent transfers under 11
            U.S.C. §§544 and 548 and Texas Business and Commerce Code §24.006(a).
         B. Directing the Transfer Defendants to pay the Unsecured Creditor Trustee the
            value of the Transfers in the amount determined at trial, but not less than the
            amount set forth above in Exhibit A, plus interest and costs of suit under 11
            U.S.C. §550(a).
         C. To the extent that the Trustee recovers under 11 U.S.C. §544 and Texas Business
            and Commerce Code §24.006(a), attorney fees pursuant to Texas Business and
            Commerce Code §24.013.
         D. For such other and further relief as the Court deems just and proper.




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                           Respectfully Submitted,

                           WALSTON BOWLIN, LLP

                           /s/ Clifford H. Walston
                           CLIFFORD WALSTON
                           cliff@walstonbowlin.com
                           State Bar No. 24037666
                           4299 San Felipe Street, Suite 300
                           Houston, Texas 77027
                           (713) 300-8700
                           (713) 583-5020 Fax
                           ATTORNEY FOR PLAINTIFF




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